Case 3:16-cv-01417-M Document 205-1 Filed 03/05/19   Page 1 of 7 PageID 3339




             EXHIBIT A-1
                     STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
         Case 3:16-cv-01417-M   Document    205-1 Filed 03/05/19 Page 2 of 7 PageID 3340
                                      Receivership - Cash Basis
                                                           16-CV-1417;
                                                     SFAR 7-01-18 thru 9-30-18


FUND ACCOUNTING (See Instructions):
                                                                           Reporting      Subtotal Prior
                                                                            Period          Periods         Grand Total
Line 1         Beginning Balance (As of 7/01/2018):                      $   36,732.88    $         -      $        -
               Increases in Fund Balance:
Line 2         Business Income                                           $          -     $   256,212.08   $ 256,212.08
Line 3         Cash and Securities                                       $          -     $    14,373.27   $ 14,373.27
Line 4         Interest/Dividend Income                                  $          -     $          -     $        -
Line 5         Business Asset Liquidation                                                                  $        -
Line 6         Personal Asset Liquidation                                $          -     $      200.00    $     200.00
Line 7         Third-Party Litigation Income                                                               $        -
Line 8         Miscellaneous - Other                                     $  70,000.00     $ 227,601.92     $ 297,601.92
                 Total Funds Available (Lines 1 – 8):                    $ 106,732.88     $ 498,387.27     $ 568,387.27
               Decreases in Fund Balance:
Line 9         Disbursements to Investors
Line 10        Disbursements for Receivership Operations
    Line 10a   Disbursements to Receiver or Other Professionals          $          -     $  44,000.27     $ 44,000.27
    Line 10b   Business Asset Expenses                                   $       941.28   $ 417,354.12     $ 418,295.40
    Line 10c   Personal Asset Expenses
    Line 10d   Investment Expenses
    Line 10e   Third-Party Litigation Expenses
                   1. Attorney Fees
                   2. Litigation Expenses
                 Total Third-Party Litigation Expenses
   Line 10f Tax Administrator Fees and Bonds
   Line 10g Federal and State Tax Payments                               $          -     $     300.00     $     300.00
             Total Disbursements for Receivership Operations             $       941.28   $ 461,654.39     $ 462,595.67
Line 11      Disbursements for Distribution Expenses Paid by the Fund:
    Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator…………………...………………..                                                $        -
                       Independent Distribution Consultant (IDC)………………                                     $        -
                       Distribution Agent…………………...……………....…                                              $        -
                       Consultants…………………………....……………….                                                    $        -
                       Legal Advisers……………………...…..………………                                                  $        -
                       Tax Advisers………………………..………….…………                                                    $        -
                  2. Administrative Expenses                                                               $        -
                  3. Miscellaneous                                                                         $        -
                  Total Plan Development Expenses                                                          $        -
   Line 11b       Distribution Plan Implementation Expenses:
                  1. Fees:
                       Fund Administrator…………………..…………..………                                                $        -
                       IDC……………………………………...…......…………                                                     $        -
                       Distribution Agent……………………..….……………..                                               $        -
                       Consultants………………………………....……………                                                    $        -
                       Legal Advisers………………………..……....…………                                                 $        -
                       Tax Advisers…………………….………….……………                                                     $        -
                   2. Administrative Expenses                                                              $        -
                   3. Investor Identification:
                       Notice/Publishing Approved Plan……………...……..…                                        $        -
                       Claimant Identification…………………….……...…….                                            $        -
                       Claims Processing………………………….………..……                                                 $        -
                       Web Site Maintenance/Call Center……….……...……                                         $        -
                   4. Fund Administrator Bond                                                              $        -
                   5. Miscellaneous                                                                        $        -
                   6. Federal Account for Investor Restitution (FAIR)
                   Reporting Expenses                                                                      $        -
                      STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
          Case 3:16-cv-01417-M   Document    205-1 Filed 03/05/19 Page 3 of 7 PageID 3341
                                       Receivership - Cash Basis
                                                        16-CV-1417;
                                                  SFAR 7-01-18 thru 9-30-18

                Total Plan Implementation Expenses                                                       $        -
               Total Disbursements for Distribution Expenses Paid by the Fund
Line 12      Disbursements to Court/Other:
    Line 12a    Investment Expenses/Court Registry Investment
             System (CRIS) Fees                                                                          $        -
    Line 12b    Federal Tax Payments
              Total Disbursements to Court/Other:                                                        $        -
              Total Funds Disbursed (Lines 9 – 11):                   $       941.28   $   461,654.39    $ 462,595.67
Line 13       Ending Balance (As of 9/30/2018):                       $   105,791.60   $    36,732.88    $ 105,791.60
Line 14      Ending Balance of Fund – Net Assets:
    Line 14a    Cash & Cash Equivalents                               $ 108,386.57     $    83,556.90    $ 108,386.57
    Line 14b    Investments                                           $        -                         $        -
    Line 14c    Other Assets or= Uncleared Funds                      $  (2,594.97)    $   (46,824.02)   $  (2,594.97)
              Total Ending Balance of Fund – Net Assets               $ 105,791.60     $    36,732.88    $ 105,791.60


OTHER SUPPLEMENTAL INFORMATION:
                                                                          Detail           Subtotal      Grand Total
              Report of Items NOT To Be Paid by the Fund:
Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
    Line 15a    Plan Development Expenses Not Paid by the Fund:
                 1. Fees:
                     Fund Administrator……………………...……………..                                                $        -
                     IDC………………………………………..……….……..                                                        $        -
                     Distribution Agent……………………...…………....…                                              $        -
                     Consultants…………………………….……………….                                                      $        -
                     Legal Advisers………………………….………………                                                     $        -
                     Tax Advisers…………………………….…….…………                                                     $        -
                 2. Administrative Expenses                                                              $        -
                 3. Miscellaneous                                                                        $        -
                 Total Plan Development Expenses Not Paid by the Fund
   Line 15b      Plan Implementation Expenses Not Paid by the Fund:
                 1. Fees:
                     Fund Administrator…………………….………..………                                                 $        -
                     IDC………………………………………........…………                                                      $        -
                     Distribution Agent……………………….……………..                                                 $        -
                     Consultants…………………………...…..……………                                                    $        -
                     Legal Advisers…………………………..…...…………                                                  $        -
                     Tax Advisers…………………….……...………………                                                    $        -
                 2. Administrative Expenses                                                              $        -
                 3. Investor Identification:                                                             $        -
                     Notice/Publishing Approved Plan……………...……..…                                        $        -
                     Claimant Identification…………………….……...…….                                            $        -
                     Claims Processing………………………….………..……                                                 $        -
                     Web Site Maintenance/Call Center……….……...……                                         $        -
                 4. Fund Administrator Bond                                                              $        -
                 5. Miscellaneous                                                                        $        -
                 6. FAIR Reporting Expenses                                                              $        -
                Total Plan Implementation Expenses Not Paid by the Fund                                  $        -
   Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                                      $        -
               Total Disbursements for Plan Administration Expenses Not Paid by the Fund
Line 16      Disbursements to Court/Other Not Paid by the Fund:
    Line 16a    Investment Expenses/CRIS Fees                                                            $        -
    Line 16b    Federal Tax Payments                                                                     $        -
              Total Disbursements to Court/Other Not Paid by the Fund:                                   $        -
Line 17       DC & State Tax Payments                                                                    $        -
Line 18      No. of Claims:
    Line 18a    # of Claims Received This Reporting Period…..…………………………………………………… $                               -
                    STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
        Case 3:16-cv-01417-M   Document    205-1 Filed 03/05/19 Page 4 of 7 PageID 3342
                                     Receivership - Cash Basis
                                                16-CV-1417;
                                          SFAR 7-01-18 thru 9-30-18

    Line 18b    # of Claims Received Since Inception of Fund…...…..…………………………………………        $      -
Line 19      No. of Claimants/Investors:
    Line 19a    # of Claimants/Investors Paid This Reporting Period…..……..………………………………..   $      -
    Line 19b    # of Claimants/Investors Paid Since Inception of Fund.……….………………………………     $      -




                                                             Receiver:

                                                             By: ______________________________
                                                                 (signature)

                                                                 Michael D. Napoli
                                                                 ______________________________
                                                                 (printed name)

                                                                  Receiver
                                                                 ______________________________
                                                                 (title)
                                                                    March 5, 2019
                                                             Date: ____________________________
        STANDARDIZED FUND
Case 3:16-cv-01417-M      ACCOUNTING
                     Document 205-1 REPORT   for The Ticket
                                     Filed 03/05/19    Page Reserve
                                                              5 of 7 PageID 3343
                               Receivership - Cash Basis
                                     16-CV-1417;
                                Sched 8 - Miscellaneous



                     Description                           Amount

            Settlement - Skelly Capital Partners   $           70,000.00




            Total                                  $           70,000.00
        STANDARDIZED FUND
Case 3:16-cv-01417-M      ACCOUNTING
                     Document 205-1 REPORT   for The Ticket
                                     Filed 03/05/19    Page Reserve
                                                              6 of 7 PageID 3344
                          Receivership - Cash Basis
                                 16-CV-1417;
                        Sched 10 - Oper. Disbursements



                      Description                        Amount
        10b Business Asset Expenses
        Administrative Expenses                   $               941.28




        Total                                     $               941.28
        STANDARDIZED FUND
Case 3:16-cv-01417-M      ACCOUNTING
                     Document 205-1 REPORT   for The Ticket
                                     Filed 03/05/19    Page Reserve
                                                              7 of 7 PageID 3345
                          Receivership - Cash Basis
                                 16-CV-1417;
                        Sched 14 - Ending Bal. of Funds



            Line    Class         Description                 Amount
      14a            Cash & Cash Equivalents
                           Rabobank                       $    108,386.57

                           Subtotal                       $    108,386.57

      14b            Investments


                           Subtotal                       $            -

      14c            Other Assets or Uncleared Funds      $     (2,594.97)


                           Subtotal                       $     (2,594.97)

                           Total                          $    105,791.60
